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 4   Attorney for Defendant
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:13-CR-00354-MCE
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   FARAH SARWAR, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Christiaan Highsmith, Assistant United States Attorney, attorney for
18   plaintiff; Chris Haydn-Myer, attorney for defendant Farah Sarwar; and Michael E. Hansen,
19   attorney for defendant Hussain Shahzad, that the previously-scheduled status conference date
20   of July 31, 2014, be vacated and the matter set for status conference on September 25, 2014, at
21   9:00 a.m.
22          To date, the government has produced almost 15,000 pages of discovery.                This
23   continuance is requested to allow counsel additional time to review discovery with the
24   defendants, to examine possible defenses and to continue investigating the facts of the case.
25          The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Codes T2 (complex case) and T4 (to allow defense counsel time to prepare), from the
 3   date of the parties’ stipulation, July 25, 2014, to and including September 25, 2014.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: July 25, 2014                                  Respectfully submitted,
 7                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 8                                                         Attorney for Defendant
                                                           HUSSAIN SHAHZAD
 9
     Dated: July 25, 2014                                  /s/ Michael E. Hansen for
10                                                         CHRIS HAYDN-MYER
                                                           Attorney for Defendant
11                                                         FARAH SARWAR
12   Dated: July 25, 2014                                  BENJAMIN B. WAGNER
                                                           United States Attorney
13
                                                           By: /s/ Michael E. Hansen for
14                                                         CHRISTIAAN HIGHSMITH
                                                           Assistant U.S. Attorney
15                                                         Attorney for Plaintiff
16
17                                               ORDER
18           The Court, having received, read, and considered the stipulation of the parties, and
19   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
20   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
21   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
22   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
23   specifically finds that the failure to grant a continuance in this case would deny defense
24   counsel to this stipulation reasonable time necessary for effective preparation, taking into
25   account the exercise of due diligence. The Court finds that the ends of justice to be served by
26   granting the requested continuance outweigh the best interests of the public and the defendants
27   in a speedy trial.
28   ///


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 1          The Court orders that the time from the date of the parties’ stipulation, July 25, 2014, to
 2   and including September 25, 2014, shall be excluded from computation of time within which
 3   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 4   section 3161(h)(7)(B)(iv), and Local Codes T2 (complex case) and T4 (reasonable time for
 5   defense counsel to prepare). It is further ordered that the July 31, 2014, status conference shall
 6   be continued until September 25, 2014, at 9:00 a.m.
 7          IT IS SO ORDERED.
 8   Dated: July 28, 2014
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